
USCA1 Opinion

	










          June 18, 1996
                                [NOT FOR PUBLICATION]

                            UNITED STATES COURT OF APPEALS
                                FOR THE FIRST CIRCUIT

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        No. 96-1051 

                                    UNITED STATES,

                                      Appellee,

                                          v.

                                   MAURICIO HENAO,
                                A/K/A NELSON RAMIREZ,

                                Defendant, Appellant.


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                     APPEAL FROM THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF RHODE ISLAND

                    [Hon. Ronald R. Lagueux, U.S. District Judge]
                                             ___________________

                                 ____________________

                                        Before

                                Selya, Cyr and Boudin,
                                   Circuit Judges.
                                   ______________

                                 ____________________

            William V. Devine, Jr. on brief for appellant.
            ______________________
            Sheldon Whitehouse,  United  States Attorney,  Margaret E.  Curran
            __________________                             ___________________
        and  Stephanie S. Browne, Assistant  United States Attorneys, on brief
             ___________________
        for appellee.


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                 Per  Curiam.   After  a careful  review of  the parties'
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            briefs  and  the record,  we find  no  reason to  reverse the

            mandatory  minimum sentence  imposed  by the  district  court

            under  21 U.S.C.    841(b)(1)(B).   The district  court found

            that  the  defendant was  not  entitled  to relief  from  the

            mandatory  minimum sentence  because  he  had not  truthfully

            provided  to  the  government  all  the  information  he  had

            concerning the offenses.  See 18 U.S.C.   3553(f); U.S.S.G.  
                                      ___

            5C1.2.  That determination is supported by the applicable law

            and the information presented at the sentencing hearing.

                 In   his  last-minute  letter  to  the  government,  the

            defendant acknowledged  that the drug transaction occurred in

            his  apartment but,  claiming his  co-defendant obtained  the

            drugs,  disclaimed any  knowledge of  where the  cocaine came

            from.   But,  in  addition to  the  kilogram offered  in  the

            transaction,  the defendant's  apartment contained  two other

            caches  of cocaine.   Further, there were  other indicia that

            the  defendant  was a  professional  drug  dealer (the  large

            amount paid by the  defendant to enter the  country illegally

            to take a low-paying job; defendant's possession of a beeper;

            and defendant's significant role in the transaction).

                 Accordingly, the district  judge was  fully entitled  to

            conclude that  the defendant's role  was not, as  he claimed,

            that  of a  mere middle man  in one transaction  and that the

            defendant,  if he had wanted,  could have told the government



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            more about the origins of the cocaine and the workings of the

            operation.  Defendant  bore the burden to persuade  the court

            that the safety valve conditions  had been met, United States
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            v. Montanez, 82 F.3d 520, 523 (1st Cir. 1996); and, reviewing
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            the district court's contrary  decision under the clear error

            standard, id., we have no basis for overturning  the district
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            court's  decision  or any  reason  to  reach the  alternative

            finding that the defendant  is disqualified from safety valve

            relief as a "manager."

                 Affirmed.  Loc. R. 27.1.
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